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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  RAYMOND'S RESTAURANT                               Civil Action: 2:24-cv-11189
  CORPORATION d/b/a RAYMOND'S                                (SDW-JRA)
  (MONTCLAIR) and RAYMOND'S
  RIDGEWOOD, LLC,
                   Plaintiffs,
             V.

  THE TRAVELERS INDEMNITY
  COMPANY OF AMERICA and
  ACE PROPERTY AND CASUALTY
  INSURANCE C01\1PANY,

                   Defendants.




    PLAINTIFF'S REPLY BRIEF IN FURTHER SUPPORT OF SUMMARY
    JUDGMENT AND IN OPPOSITION TO DEFENDANT'S MOTION FOR
                      SUMMARY JUDGMENT


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                            PRELIMINARY STATEMENT

        This case involves coverage under multiple policies of insurance. Plaintiff

  has been paid under one policy but seeks recovery under two additional policies.

  The parties agreed on the relevant policies, but now an issue has arisen as to a fourth

  policy.

        After the parties stipulated that Travelers paid on the 2022/2023 policy, in its

  brief, Travelers now contends that it paid Raymond's loss under the 2021/2022

  policy. Next, Travelers contends that there can be no recovery under the 2019/2020

  policy because the loss was discovered more than one year after the end of the policy

  period. The 2019/2020 policy is not before the Court as referenced in the Parties'

  Stipulation. However, now that Travelers has changed its position as to which policy

  under which it paid Raymond's claim, the 2019/2020 policy must be placed before

  the Court. Accordingly, on behalf of Raymond's this writer has placed the policy

  Declarations before the Court via Certification. As indicated in the Certification, the

  material excerpts from the 2019/2020 policy are identical to those currently before

  the Court.

        In light of the change in position of Travelers with respect to the policy under

  which it paid Raymond's, it is the plaintiffs position that the four policies potentially

  affording coverage should each be before the Court, i.e., 2019/2020, 2020/2021,

  2021/2022, 2022/2023. Raymond's is not seeking anything more than $50,000 in
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  this action. Its contention is that it suffered a loss under the 2019/2020, 2020/2021

  and 2021/2022 policies. It has been paid $25,000 and seeks an additional $50,000

  under these policies.

        As will be indicated below, although no theft occurred while in force, there is

  the potential for coverage to extend under the 2022/2023 policy of Travelers. This

  is because of the unique provisions found in the Employee Dishonesty covering

  language. Regardless, Raymond's is seeking payment of $50,000 or three years of

  coverage ($25,000 having already been paid).

                                LEGAL ARGUMENT

        THE TRAVELERS POLICIES EXTEND COVERAGE TO A
        LIMIT OF $25,000 FOR EACH POLICY

     A. Raymond's Coverage Position

        In its initial Brief, Raymond's set forth its claim for coverage under the three

  policies issued by Travelers during the periods 2019 to 2020, 2020 to 2021 and 2021

  to 2022. The provisions of the Employee Dishonesty in each of the aforementioned

  Travelers' policies provided as follows:

        d. Employee Dishonesty
               (1) We will pay for loss of or damage to Covered Property
        resulting directly from "Employee Dishonesty".
               We will pay for loss or damage you sustain through acts
        committed or events occurring during the policy period.

                                          ***



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        6.     The most we will pay for loss or damage under this Additional
               Coverage in any one occurrence is $25,000.

                                          ***

        Raymond's position is that its employee stole funds over the course of three

  policy years, and since the policy provision in each speaks in terms of "loss or

  damage you sustain through acts committed or events occurring during the policy

  period," Travelers should be required to extend coverage for those losses under each

  policy. The language speaks in terms of the time of loss or damage, i.e. "occurring

  during the policy period," and informs the insured of the protection afforded. The

  $25,000 limit for loss or damage references "in any one occurrence." If Mr. D'Elia

  stole money during the 2019/2020 policy year of Travelers, and he did, a loss has

  occurred during the policy period. If he stole during the 2020/2021 policy year and

  during the 2021/2022 policy year, and he did, a loss has also "occurred" in those

  years. Again, the policy speaks in terms of loss or damage "occurring." If there

  have been funds stolen during each policy year as a result of covert employee theft,

  then the loss or damage has "occurred during each policy period."

     B. The Travelers Defenses

     (1) Single Occurrence

        Travelers maintains that its coverage for Employee Dishonesty limits

  recovery to only one policy limit of $25,000 ifit arises out of one "occurrence". The

  policy defines "occurrence" as meaning "all loss or damage caused by or involving
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  the same 'employee' whether the result of a single act or series of acts." Travelers

  contends that D'Elia' s theft over three policy years qualifies as a single "occurrence"

  and therefore, it owes only one limit of $25,000.

        Initially, the problem with the Travelers' position 1s that the covermg

  language of the Employee Dishonesty provision speaks in terms of the loss

  "occurring" in time "during the policy period." The policy states:

            We will pay for loss or damage you sustained through acts
            committed or events occurring during the policy period.

        Thus, the language in the provision itself, to the extent it refers in time to

  "occurring during the policy period," it is in conflict with the purported limiting

  language of "occurrence" encompassing a "series of acts". The root word "occurs"

  is in both phrasings. Clearly the conflicting language creates an ambiguity in the

  policy.

        The second problem with the Travelers' position is that it is in conflict with

  the New Jersey Supreme Court's treatment of the term "occurrence" when that term

  is used to describe coverage for bodily injury or property damage "caused by an

  occurrence." In Owens-Illinois, Inc. v. United Ins. Co., 138 NJ. 437 (1994) the

  Court addressed issues of coverage arising when bodily injury or property damage

  occurs over multiple policy periods. Before the Court was the issue of coverage for

  bodily injury and property damage arising out of exposure to asbestos over not just

  years but literally decades. While the Court concluded that consequential damage
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  arising out of the sale of asbestos qualified as a single "occurrence," it further

  concluded that the damage occurred over multiple policy years. The Court held in

  its opinion as follows:

        To recapitulate, we hold that when progressive, indivisible injury or
        damage results from exposure to injurious conditions for which civil
        liability may be imposed, courts may reasonably treat the progressive
        injury or damage as an occurrence within each of the years of a COL
        policy. That is the continuous trigger theory for activating the insurers'
        obligation to respond under the policies.

  138 N.J. at 478-479.

        Indeed, Owens-Illinois involved a liability policy while the Travelers policy

  is a first party property policy. Nonetheless, the Court's holding applies across both

  types of coverage because the underlying rationale is the same. Damage caused by

  the sale of asbestos over years was considered to be one causative event, i.e. one

  occurrence. Nonetheless, the Court concluded that when injury occurs in multiple

  policy years, coverage extends in each of the triggered policy years.

        Here, Travelers policy affirmatively states that it affords coverage for "loss or

  damage you sustain through the acts committed or events occurring during the policy

  period." Accordingly, Travelers is informing the insured that coverage will extend

  when, in time, loss or damage is experienced by Raymond's, i.e. during each policy

  period. Whether the loss occurs during one, two or three policy periods as a result

  of a series of fraudulent transactions there is still damage during each policy period

  even if those damages arise out of a single occurrence. Thus, it matters not that the
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  policy defines a single act or a "series of acts" as an "occurrence". If those acts are

  the causative event occurring in different policy periods but result in damage

  occurring during the "policy period," then coverage extends under each policy

  period.

        The position advanced in this respect on behalf of plaintiff is consistent with

  a decision of the United States Court of Appeals for the Fourth Circuit. Spartan Iron

  and Metal Corp. v. Libe1ty Ins. Corp., 6 Fed. Appx. 176 (4th Cir. 2001). There the

  policyholder was issued two one-year term policies by Liberty Mutual covering it

  for Employee Dishonesty.        A theft occurred over both policy years and the

  policyholder sought recovery of $100,000 under each policy, or $200,000 in total.

  The insurer took the position that the acts of theft constituted an "occurrence"

  defined as "all loss caused by, or involving, one or more employees, whether the

  result of a single act or series of acts." The court, however, noted that the definition

  did not affirmatively indicate whether a series of acts includes acts occurring outside

  the policy term. 6 Fed. Appx. at 178. Ultimately, because of ambiguity in the

  definition of occurrence, the court concluded that the policyholder was afforded

  coverage under both policies holding:

        In summary, although the question of coverage is a close one, we find
        that the definition of "occurrence" in Liberty's policies is ambiguous,
        and that it is not clear that the two policies issued to Spartan Iron should
        be construed as one continuous policy rather than separate and
        independent contracts. Accordingly, we are not persuaded that Liberty
        has limited its liability for any one employee's related acts of
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       dishonesty to the coverage provided by a single policy. As a result,
       Spartan Iron was properly entitled to judgment as a matter of law.

 6 Fed. Appx. at 180.

       The court's conclusion in Spartan Iron is exactly supportive of plaintiffs

 position here. The definition of "occurrence" in the Travelers policy referencing "a

 series of acts" does not state whether it applies only to the policy in effect that year

 or whether it applies to multiple policies. Raymond's position is that there can be

 an occurrence, i.e. a series of acts, but the effect of the occurrence as a cause can

 extend over multiple policy years. Travelers policy does not state whether the

 limitation in coverage relates solely to the singular policy or whether it extends to

 other policies issued by Travelers.

       It should be noted that employee dishonesty occurs covertly. Certainly the

 employee engaged in embezzling funds does not "announce" his or her actions.

 Likewise, the covert actions of an employee can occur over a number of policy years.

 Effectively, Travelers is engaged in "sleight of hand" while it informs the insured

 that coverage extends to losses that "occur in each policy period" but then suggests

 that all of the losses sustained constitute one "occurrence," thereby defeating the

 very purpose of purchasing coverage every year. It is hard to imagine that a

 reasonable policyholder could ever understand and comprehend the concept

 suggested by Travelers that all of the losses sustained over multiple policy years

 constitute one "occurrence" with only one limit. On the contrary, the policy speaks
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 in terms of extending coverage for losses that "occur" during the policy period. As

 the Supreme Court suggested in Auto Lenders Acceptance Corp. v. Gentilini Ford,

 Inc., 181 N.J. 245 (2004) a provision of an Employee Dishonesty policy that largely

 will "nullify the protections afforded by the policy" conflicts with the very basis for

 purchasing the policy in the first place and is unenforceable. 181 N.J. at 276.

       Therefore, while Travelers' use of the term "occurrence" defines it as the

 cause for the loss, the covering language refers to when the damage is sustained, i.e.,

 during the policy period. That is exactly what the Supreme Court in Owens-Illinois

 was addressing. Yes, damage caused by exposure to asbestos is a single occurrence,

 but when the damage occurs over multiple policy years, coverage extends.

       Travelers in its Brief refers to several cases dealing with the term "occurrence"

 defined as including a single act or series of acts. But in none of those cases did the

 court address the New Jersey Supreme Court decision in Owens-Illinois or the

 ramifications of the policy language expressly stating that coverage extends to the

 damage "occurring during the policy period."         Likewise, none of those cases

 addressed the ambiguity created when the occurrence language includes acts outside

 of the policy term as addressed in Spartan Iron and found to create an ambiguity.

 Thus, those cases are inapposite.

       (2) The Non-Cumulation Clause

       Each of the Travelers policies includes a clause providing as follows:


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       7. Non-Cumulative Limit

       No limit of insurance cumulates from policy period to policy period.

       The Travelers policies further provide under the Employee Dishonesty

 provisions as follows:

       We will pay for loss or damage you sustain through acts committed or
       events occurring during the Policy Period. Regardless of the number
       of years this insurance remains in force or the number of premiums
       paid, no Limit of Insurance cumulates year to year or period to period.

       Travelers relies upon these two provisions to support its position that it pays

 only one limit of $25,000 for all losses sustained even over multiple policy years.

       In its initial Brief, Raymond's cited to multiple cases across the country

 finding the non-cumulation clause in insurance policies covering for Employee

 Dishonesty ambiguous. Each of those cases reasoned that the clause could be read

 to refer to preclusion of carrying over and adding the limit in the succeeding policy

 year. Accordingly, because of the ambiguity, the courts refused to enforce the

 prov1s10n.   See pages 7-11 of Plaintiffs Brief citing to case law supporting

 ambiguity.

       Travelers in its Brief in suppmt of summary judgment cites to case law

 enforcing    the   non-cumulation     clause   m    various   Employee      Dishonesty

 circumstances. See, Defendant's Brief at page 12-13. While plaintiff maintains that

 the out-of-state cases finding ambiguity in the construction of the provision are better

 reasoned in terms of why the non-cumulation clause is ambiguous, ultimately the
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 Court simply has to make a decision on whether it finds the clause ambiguous or

 not. In further support of plaintiffs argument, we note the decision of the United

 States Court of Appeals for the Fourth Circuit in Spartan Iron and Metal Corp. v.

 Liberty Ins. Corp., 6 Fed. Appx. 176 (4th Cir. 2001). On the issue of the non-

 cumulation clause the court noted the conflict in decisions across the country, and

 concluded that the clause was ambiguous. Raymond's also notes the decision of the

 New Jersey Supreme Court in Spaulding Composites Co. v. Aetna Cas. & Sur. Co.,

 176 NJ. 125 (2003) (holding invalid a non-cumulation claim in a series of general

 liability policies).

        (3)    Discovery More than One Year After the Policy Period Expires

        Notwithstanding the stipulation that Travelers paid the $25,000 under the

 2022/2023 policy, in its Brief it now changes its position and states that, in fact, it

 paid the loss under the 2021/2022 policy. Travelers points to the provision in the

 Employee Dishonesty covering language that provides as follows: "(5) We will pay

 for covered loss or damage only if discovered no later than one year from the end of

 the policy period."1 Travelers contends that the quoted provision would preclude

 coverage under the 2019/2020 policy.




 1 This limiting language was not raised by Travelers in any of its coverage position
 correspondence. See, Certification of Francis X. Garrity, Exhibits A, B, C, D, E, F,
 G, Hand I. Thus, the insurer waived the provision.
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       At the outset, we agam note that the Employee Dishonesty prov1s10n

 affirmatively states that it will pay for loss or damage "occurring during the policy

 period". Thus, this provision referencing discovery and notice within one year after

 the end of the policy period is in direct conflict with the affirmative covering

 language.       In this respect, the policy is ambiguous and this provision is

 unenforceable.

       Further, requiring discovery defeats the very purpose of the coverage

 nullifying it. Employees do not "announce" their embezzlement. Thus, the clause

 violates public policy and defeats the reasonable expectations of the insured.

       Beyond the issue of enforceability, there is a provision in the policy that is

 something of a "catch-all" that renders the Notice provision irrelevant. Clause 8 in

 the Employee Dishonesty provision provides that coverage is extended under the

 policy for any loss that occurred prior to the inception of coverage even in those

 instances where the time within which to discover the loss or damage has expired.

 This provision is in each policy issued by Travelers.           Let us consider the

 implications.

       The 2022/2023 policy afforded Employee Dishonesty coverage to

 Raymond's. Employee theft did not take place during this policy period but Clause

 8 affirmatively would extend coverage to Raymond's for the losses that occurred

 under any prior policy. Again, this provision affinnatively provides that coverage


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 will extend to Employee Dishonesty if coverage would have extended under a prior

 policy but for the fact that the time within which to discover the loss or damage has

 expired. Raymond's gave notice to Travelers during this policy year. Raymond's

 had coverage during each of the policy years commencing on September 16, 2019

 during which D'Elia stole the funds. In other words, Raymond's had coverage in

 place during the three policy years, i.e., 2019/2020, 2020/2021 and 2021/2022. Each

 policy contained the same Clause 8 stating that coverage would extend under the

 policy so long as coverage was in place under prior policies but the time to discover

 the theft had expired. Thus, the 2022/2023 policy affords coverage to a limit of

 $25,000. The company paid on the 2021/2022 policy and thus that policy is not in

 issue. The 2020/2021 policy contained the same Clause 8 providing that coverage

 extends if a prior policy covered but the time period for discovery had expired. That

 would be the 2019/2020 policy.

       Therefore, the 2022/2023 policy and the 2020/2021 policy under Clause 8

 both afford coverage to the extent that there is a loss that cannot be recovered under

 a prior policy because of failure to discover it within one year after the policy period

 ends. As applied to the 2022/2023 that would include the 2020/2021 policy and as

 to the 2020/2021 that would include the 2019/2020 policy. Both policies afford

 coverage and discovery is irrelevant.




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       Travelers would point to Clause 9 purporting to limit coverage to a single limit

 of insurance. Clause 9, however, is nothing more than another attempt at a non-

 cumulation clause in a different form. It purports to limit coverage to one limit if it

 has been paid under another policy. Here again, as a non-cumulation clause, the

 question arises as to whether it is enforceable or ambiguous. Plaintiff maintains that

 it is both ambiguous and unenforceable.

       (4)    Bad Faith

       Under New Jersey law a first party property insurer can be liable for bad faith

 if it wrongfully denies coverage and loses on summary judgment. Pickett v. Lloyd's,

 131 N.J. 457,473 (1993). A decision as to potential bad faith on the part of Travelers

 cannot be determined until the Court rules. If the ruling is in favor of plaintiff, the

 plaintiffs claim for bad faith accrues.

                                   CONCLUSION

       The position advanced by the plaintiff, Raymond's, 1s consistent and

 straightforward grounded in the language in the Travelers policies. Mr. D'Elia's

 theft occurred during three policy periods during which Travelers afforded coverage

 commencing with the September 16, 2019 policy and ending with the September 16,

 2021 policy. Each of those policies affirmatively stated as follows: "We will pay

 for loss or damage you sustain through acts committed or events occurring during

 the Policy Period."


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       The above could not be any more clear. Travelers was telling Raymond's that

 it had coverage for Employee Dishonesty that occurs during the policy period.

 Travelers covered Raymond's during each of the three periods in issue. Indeed, the

 Travelers policy speaks in terms of non-cumulation of policy limits, discovery of

 loss, and a single act or a series of acts, all with the intent of limiting Raymond's

 recovery. Each of these provisions on which Travelers relies has been addressed at

 length.   New Jersey law applies to the construction of the Travelers policies.

 Plaintiff suggests that this Court step back, look at what has occurred, what Travelers

 offered and apply the Doctrine of Reasonable Expectations as allowed by the New

 Jersey Supreme Court. While Raymond's has challenged the various provisions of

 the Employee Dishonesty covering language, it is clear that no reasonable

 policyholder could ever comprehend the language and the conflicting case law

 across the country construing similar language. In Vargas v. Hudson County Board

 of Elections, 714 F. Supp. 714 (D.N.J. 1993), affd. 949 F. 2d 665 (3 rd Cir. 1991),

 Judge Debevoise, then sitting in the United States District Court reformed the policy

 before him based upon the Doctrine of Reasonable Expectations. The insurance

 policy at issue before him did not extend coverage to civil rights violations involving

 election discrimination. However, Judge Debevoise, looking broadly at what the

 policyholder could expect, reformed the policy finding coverage for the allegations

 asserted against the policyholder. Raymond's believes that it has comprehensively


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 challenged the positions advanced by Travelers as to why it should be allowed to

 pay only one policy limit when three policies were involved. If the Court is not

 satisfied, Raymond's urges this Court to step back and adjudicate coverage in

 conformance with New Jersey's approach, i.e., reasonable expectations of the

 insured, and reform the Travelers policies to effect coverage under each for

 Raymond's loss "occurring during the policy" as expressly represented in the

 Travelers policies.

                                             Respectfully submitted,
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                                             Attorneys for Plaintiff



 Dated: June 2, 2025                     BY: FRANCIS X. GARRITY




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